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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


XF AGENCIJA LIMITED AND XF AGENCIJA US
INC.

                     Plaintiffs,                          Case No.

       vs.

INDIVIDUALS, BUSINESS ENTITIES, AND
UNINCORPORATED ASSOCIATIONS ON
SCHEDULE “A”

                     Defendants.

                    PLAINTIFFS’ MOTION TO EXCEED PAGE LIMIT

       Plaintiffs, XF Agencija Limited and XF Agencija US Inc. (collectively, “Plaintiffs” or

“Nooro”), by undersigned counsel, respectfully request that they be given leave to file their

memorandum of law in support of Plaintiffs’ Ex Parte Motion for Entry of a Temporary

Restraining Order, Including a Temporary Injunction, a Temporary Asset Restraint, Expedited

Discovery, and Service of Process by Electronic Mail in excess of 15 pages (the “TRO Motion”).

       In the TRO Motion, Plaintiffs seek: (1) a temporary injunction against Defendants

enjoining use of Plaintiffs’ Nooro trademark, enjoining operation of Defendants’ Nooro imposter

websites, enjoining marketing and sale of infringing Nooro products, and requiring transfer of

Defendants’ infringing domains; (2) a temporary restraint of Defendants’ assets to preserve

Plaintiffs’ right to an equitable accounting; (3) expedited discovery allowing Plaintiffs to subpoena

third parties for information relating to the manufacture, distribution, offering for sale, and sale of

infringing Nooro products and Defendants’ financial accounts; and (4) service by electronic mail

upon Defendants’ web hosting companies and website registrars.
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                           Plaintiffs’ memorandum of law is approximately 17 pages, which is substantially less than

                  the 60-page limit allowed if four motions were filed separately.

                           Plaintiffs therefore request that they be granted leave to file a combined memorandum of

                  law in excess of 15 pages for purposes of efficiency.



                      Date: September 22, 2023                Respectfully submitted,



                                                              By: /s/ Brian Roth
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                                                                   XF Agencija US Inc.




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